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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
WHITE EAGLE ASSET PORTFOLIO, LP, et al.,1                        )    Case No. 18-12808 (KG)
                                                                 )
                                    Debtors.                     )    (Jointly Administered)
                                                                 )
                                                                      Re: Docket No. 7
                                                                 )

     PRELIMINARY OBJECTION OF CLMG CORP. AND LNV CORPORATION TO
       MOTION OF DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
       (A) AUTHORIZING THE USE OF CASH COLLATERAL, (B) PROVIDING
      ADEQUATE PROTECTION, (C) MODIFYING THE AUTOMATIC STAY, AND
                    (D) SCHEDULING A FINAL HEARING

          CLMG Corp. (“CLMG”) and LNV Corporation (“LNV” and, together with CLMG, the

“Lender Parties”), as administrative agent and sole lender, respectively, under the Second

Amended and Restated Loan and Security Agreement, dated as of January 31, 2017 (as

amended, restated, supplemented or otherwise modified from time to time, the “Loan

Agreement”), submit this preliminary objection (the “Preliminary Objection”) to the Motion of

Debtors for Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B)

Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling A Final

Hearing [Docket No. 7] (the “Motion”) and respectfully state as follows:

                                      PRELIMINARY STATEMENT

          1.        The Lender Parties have significant concerns about the conduct of these chapter

11 cases (the “Chapter 11 Cases”) and the undue influence over the Debtors that is being exerted

by their ultimate parent, Emergent Capital, Inc. (“Emergent”), which has not filed for

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, where applicable, include: White Eagle Asset Portfolio, LP (0691); White Eagle General Partner, LLC
(8312); and Lamington Road Designated Activity Company (7738). The Debtors’ service address in these chapter
11 cases is 5355 Town Center Road, Suite 701, Boca Raton, FL 33486.



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bankruptcy. These Chapter 11 Cases were filed to serve Emergent’s interests, not the Debtors’,

with the sole purpose of the filings being to bring meritless litigation against the Lender Parties

for Emergent’s benefit. The Debtors have no independent management (the Debtors’ lone

alleged officer is also the chief financial officer of Emergent) or even employees of their own,

and are instead entirely subject to the direction of Emergent.

          2.        Moreover, Debtor White Eagle Asset Portfolio, LP (“White Eagle”) and Emergent

have significant and irreconcilable conflicts of interest. Emergent needs liquidity to survive and

avoid a chapter 11 case of its own, and it wants to access cash at White Eagle, the borrower

under the Loan Agreement, to satisfy those needs. It was Emergent’s inability to extract cash

from White Eagle without causing a default under the Loan Agreement and desire to pursue

litigation against the Lender Parties at White Eagle’s expense that was the cause of these Chapter

11 Cases. Moreover, because White Eagle has no independent management or employees of its

own, with its lone alleged officer also being the chief financial officer of Emergent, White Eagle

has no ability to resist Emergent’s demands. And every dollar that leaves White Eagle to pay for

Emergent or Imperial Finance’s expenses is value lost at White Eagle with nothing in

return. This is particularly problematic because White Eagle derives its income from life

settlement assets with cash flows that are uneven, are difficult to predict, and can easily result in

liquidity issues if such cash flows are insufficient to cover operating expenses.2

          3.        The relief that the Debtors seek under the Motion is one example of the manner in

which these Chapter 11 Cases are being improperly directed to pursue Emergent’s interests at the

expense of White Eagle. By the Motion, the Debtors seek to use White Eagle’s cash – which is


2
     See Declaration of Miriam Martinez, Chief Financial Officer, in Support of First Day Motions [Docket No. 3]
(the “First Day Declaration”) at ¶ 7.

                                                        2

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also the Lender Parties’ cash collateral – for a number of expenses that have historically been

paid by Emergent with its own cash and that are not necessary to maximize the value of White

Eagle or to protect and maintain White Eagle’s assets but are instead designed to benefit

Emergent to the detriment of White Eagle. In fact, a number of the Debtors’ requested transfers

to non-Debtor affiliate Imperial Finance & Trading, LLC (“Imperial Finance”), a direct

subsidiary of Emergent, would pay for expenses that are for the benefit of Emergent. The

Debtors allocate 100% of the expenses at Imperial Finance to White Eagle even though White

Eagle has no obligations to pay for services that benefit non-Debtor affiliates and derives no or

little benefit from such services, and with the result being that Emergent and any of the non-

Debtor affiliates who are beneficiaries are paying nothing for their benefit under the Debtors’

proposal.       Moreover, certain of such expenses exclusively benefit Emergent by paying for

Emergent’s overhead but providing no direct benefit to White Eagle.             And White Eagle

substantially overpays Imperial Finance for services compared to what it would need to pay a

third party for the same services.

          4.        This lopsided arrangement is the result of negotiations between Emergent and

itself because White Eagle has no independent management or employees of its own and thus

there is no party who is negotiating on White Eagle’s behalf with respect to the terms of these

services, let alone on anything resembling an arms’-length basis. Importantly, none of these

payments is consistent with the Loan Agreement or common practice prepetition; the Debtors

point to an Administrative Services Agreement between White Eagle and Imperial Finance to

justify such payments, but this agreement does not require White Eagle to make the payments in

question (and certainly not of the magnitude in question), and in any event has not been assumed

by the Debtors. Moreover, no payments were made by White Eagle under such agreement

                                                   3

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prepetition. As such, the Lender Parties do not consent to the use of Cash Collateral for these

expenses and the Debtors cannot satisfy their required burden to substantiate making such

payments on a nonconsensual basis.

          5.        Given the Lender Parties’ concern over certain of the expenses proposed to be

paid by the Debtors with the Cash Collateral, on December 21, 2018, the Lender Parties served

on the Debtors document requests and interrogatories related to the Motion, each of which

requested responses by January 7, 2019.3 On December 31, 2018, the Lender Parties and the

Debtors held a meet and confer to discuss certain consensual limitations to the requests. On

January 7, 2019, the Debtors responded to the discovery requests and began rolling production of

documents.4 The Debtors’ response to 24 of the Lender Parties’ 25 interrogatories cited to

Federal Rule of Civil Procedure 33(d) and referred the Lender Parties to the produced

documents. However, few – if any – of the interrogatories are, in fact, answered in any way by

the documents produced, which consist largely of engagement letters and invoices. Moreover,

the Debtors ignored the Lender Parties’ “Interrogatory No. 22,” which requested information

related to line items in the budget including (a) the identity of the persons or entities who

determined or will determine the amount of each charge, (b) any negotiations pertaining to the

3
    See Notice of Service of CLMG Corp. and LNV Corporation's First Request for Production of Documents to the
Debtors in Connection with the Motion of Debtors for Entry of Interim and Final Orders (A) Authorizing the Use of
Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final
Hearing; Notice of Service of CLMG Corp and LNV Corporation's First Set of Interrogatories to the Debtors in
Connection with the Motion of Debtors for Entry of Interim and Final Orders (A) Authorizing the Use of Cash
Collateral, (B) Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final
Hearing [Docket Nos. 55 and 56].
4
     See Notice of Service of (I) Debtors Responses and Objections to CLMG Corp. and LNV Corporations First Set
of Interrogatories to the Debtors in Connection with the Motion of the Debtors for Entry of Interim and Final
Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the
Automatic Stay, and (D) Scheduling a Final Hearing; and (II) Debtors Responses and Objections to CLMG Corp.
and LNV Corporations First Request for Production of Documents to the Debtors in Connection with the Motion of
the Debtors for Entry of Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing
Adequate Protection, (C) Modifying the Automatic Stay, and (D) Scheduling a Final Hearing [Docket No. 59].

                                                       4

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amount of each charge, (c) the legal or contractual basis for the imposition of each charge on

White Eagle, (d) the allocation of costs between White Eagle and other entities, (e) the basis of

any allocation of costs between White Eagle and other entities and (f) any efforts or analysis by

Emergent, Imperial Finance, or White Eagle to determine whether the amount charged to White

Eagle was or will be consistent with the fair market value of the services provided, regardless of

whether the services were or will be performed by Imperial Finance, Emergent, or another party.

The Debtors also did not respond to interrogatories that would show whether any party other

than the Debtors would benefit from amounts to be paid to Imperial Finance and what those

benefits would be. Without this crucial information, the Lender Parties cannot fully evaluate the

proposed 13-week budget sent by the Debtors to the Lender Parties on January 8, 2019 or the

proposed expenses thereunder.

          6.        To be clear, the Lender Parties do not ask that the Court deny White Eagle

authority to make payments for expenses that are necessary to maintain White Eagle’s assets and

preserve their value.5 To that end, the Lender Parties would be willing to agree to a further cash

collateral order on the same terms as the Interim Order (A) Authorizing the Use of Cash

Collateral, (B) Providing Adequate Protection, (C) Modifying the Automatic Stay, and (D)

Scheduling a Final Hearing [Docket No. 37] (the “Interim Cash Collateral Order”) (including a

reservation of rights for the Lender Parties to request the offset of any distributions or transfers



5
     The Lender Parties have repeatedly demonstrated their willingness to agree to the payment of the necessary
expenses of White Eagle; most importantly, the payment of premiums for White Eagle’s portfolio of insurance
policies as they come due. Such support has included the making of a protective advance of approximately $4.2
million prior to White Eagle’s bankruptcy filing during the continuance of the event of default caused by the
bankruptcy filings of White Eagle’s limited partner and general partner. The Lender Parties’ motivation for such
support is simple – to do otherwise would potentially harm the Lender Parties’ collateral and, thus, decrease their
chances of being repaid in full under the Loan Agreement.


                                                          5

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made to any non-Debtor affiliate in these Chapter 11 Cases)6 that includes a budget reflecting

payments to Imperial Finance only for expenses that benefit White Eagle at market rates and

with the appropriate allocation, so that Emergent and Imperial Finance are required to pay their

fair share. The Lender Parties request that the Court deny approval of the Motion on a final basis

absent the Debtors’ acceptance of modifications to their proposed budget that address the

proposed improper payments.

                                              BACKGROUND

I.        The Chapter 11 Cases

          7.        On November 14, 2018, White Eagle’s limited partner, Lamington Road Limited

(“Lamington Road”), and its general partner, White Eagle General Partner, LLC (“White Eagle

GP”), filed chapter 11 cases. As a justification for filing their chapter 11 cases, Lamington Road

and White Eagle GP cited concerns that the Lender Parties would call an unspecified default

under the loan documents, despite no such default having been identified or asserted by the

Lender Parties. White Eagle filed its Chapter 11 Case on December 13, 2018, citing, as a

justification, the default under the Loan Agreement precipitated by the filings of Lamington

Road and White Eagle GP. No request for the appointment of a trustee or examiner has been

made in these Chapter 11 Cases, and no committee has been appointed.

II.       Operations of White Eagle

          8.        White Eagle is a special purpose entity formed by its indirect parent, Emergent, to

acquire and hold life insurance policies. White Eagle is a pass-through entity and, thus, does not

6
     This reservation reflects that such distributions or transfers to non-Debtor affiliates were intended to (and
outside chapter 11, would) flow through the Loan Agreement and its waterfall provisions. To the extent the Debtors
now need to make direct payments to preserve their assets and the Lender Parties’ collateral, such payments should
reduce distributions to non-Debtors affiliates pursuant to a chapter 11 plan or otherwise to avoid what would
otherwise, in essence, result in priority shifting through the use of Cash Collateral.


                                                        6

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have any obligation to pay federal income taxes.7 White Eagle has not been, and likely will no

longer be, pursuing the purchase of additional policies; rather, it is currently primarily in runoff

whereby it simply owns the policies, ensures that premiums on them are paid, and receives

proceeds in the ordinary course. White Eagle obtained the funds necessary to purchase such

policies with the approximately $367.9 million loaned by LNV under the Loan Agreement.

          9.        As security for the loans, and all other obligations under the Loan Agreement, the

Lender Parties were granted first priority liens and security interests on, among other things,

substantially all of White Eagle’s assets, including White Eagle’s interests in its life insurance

policies and the proceeds therefrom, and all other cash held by White Eagle.8 As described in

the Motion of Debtors for Order Authorizing (A) Continuance of Existing Cash Management

System, (B) Intercompany Transactions, (C) Limited Waiver of Section 345(b) Deposit and

Investment Requirements, and (D) Granting Related Relief [Docket No. 6], such cash is held in

several pledged accounts (the “Pledged Accounts”) in accordance with the Loan

Agreement. CLMG has perfected security interests in the Pledged Accounts pursuant to the

Second Amended and Restated Securities Account Control and Custodian Agreement, dated as

of January 31, 2017, among CLMG, White Eagle, and Wilmington Trust, N.A., as securities

intermediary and custodian (the “Account Control Agreement”).9 As the Debtors stipulate and


7
    See, generally, Partnerships, Internal Revenue Service (“A partnership must file an annual information return to
report the income, deductions, gains, losses, etc., from its operations, but it does not pay income tax. Instead, it
‘passes through’ any profits or losses to its partners. Each partner includes his or her share of the partnership's
income or loss on his or her tax return.”), https://www.irs.gov/businesses/small-businesses-self-
employed/partnerships (last visited Jan. 3, 2019).
8
     Loan Agreement § 2.6(a) and Account Control Agreement (as defined herein) § 3.1.
9
    The Account Control Agreement is attached as Exhibit 1 to the Declaration of Andrew Zatz in Support of
Preliminary Objection of CLMG Corp. and LNV Corporation to Motion of Debtors for Entry of Interim and Final
Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the
Automatic Stay, and (D) Scheduling a Final Hearing (the “Zatz Declaration”), filed concurrently herewith.

                                                         7

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agree in the Interim Cash Collateral Order, the liens and security interests in favor of CLMG,

including its interests in the Pledged Accounts, are legal, valid, binding, enforceable non-

avoidable and properly perfected.10 The Debtors have also stipulated and agreed to the legality,

validity, non-avoidability, proper perfection, and enforceability of CLMG’s liens and security

interests – and to the obligations under the Loan Agreement themselves – in numerous

borrowing requests, including as recently as November 28, 2018.11

          10.       White Eagle has no employees of its own.12 White Eagle’s only officer is Miriam

Martinez, who is also the chief financial officer of Emergent.13 Most of the necessary services

that benefit White Eagle are provided by (i) MLF LexServ LP, as servicer of White Eagle’s

portfolio, (ii) Wilmington Trust, N.A., as custodian and securities intermediary, and (iii)

Lamington Road Bermuda Ltd. (“Lamington Bermuda”), as portfolio manager.14

          11.       White Eagle is also party to an Administrative Services Agreement, dated as of

May 16, 2014 (as amended, restated, supplemented or otherwise modified from time to time, the

“Administrative Services Agreement”),15 with Lamington Bermuda, as portfolio manager, and

Imperial Finance, whereby White Eagle has agreed to pay Imperial Finance for certain


10
    Interim Cash Collateral Order at ¶ 3(a)(v). LRDA also maintains two foreign accounts with an aggregate
balance of less than $25,000 (the “Foreign Accounts”). The funds in the Foreign Accounts are used by LRDA for
general corporate purposes. The Foreign Accounts are not controlled accounts or otherwise subject to the Account
Control Agreement.
11
     See Borrowing Request.
12
     See Declaration of Miriam Martinez, Chief Financial Officer, in Support of First Day Motions [Docket No. 3]
(the “First Day Declaration”) at ¶ 9.
13
     Id. ¶ 1.
14
     See Loan Agreement, Annex I, at I-7 and I-28.
15
     The Administrative Services Agreement is attached as Exhibit 2 to the Zatz Declaration.


                                                         8

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administrative services and support. Specified services and support to be provided by Imperial

Finance to White Eagle include information systems services, financial reporting, preparation of

borrowing certificates and requests under the Loan Agreement, insurance, and audit and tax

services.16 The Administrative Services Agreement does not require the payment by White

Eagle of Imperial Finance’s employees, office space or other overhead expenses nor does it

provide for the payment of expenses for services that do not benefit White Eagle. The services

to be provided by Imperial Finance under the Administrative Services Agreement are to be

rendered at “reasonable, fair market value”17 and “bill[ed] . . . based on actual costs, or an

appropriate allocation methodology reasonably reflecting actual costs, for the [s]ervices

provided.”18        The Debtors have made no efforts to assume the Administrative Services

Agreement under section 365 of the Bankruptcy Code.

          12.       Although the Loan Agreement identifies the Administrative Services Agreement

as a “Transaction Document,”19 the Loan Agreement does not expressly contemplate that

payments be made by White Eagle under the Administrative Services Agreement. Payments

under the Administrative Services Agreement were never included in any annual budgets for

payments to be made by White Eagle under the “Expenses” distribution in the Loan Agreement

payment waterfall, nor was any such request ever made by Emergent or Imperial Finance. In

fact, the Lender Parties believe White Eagle has never made any payments under the

Administrative Services Agreement.

16
     See Administrative Services Agreement, Exhibit A.
17
     Id., § 2 and Exhibit B.
18
     Id. § 2, Exhibit B.
19
     See Loan Agreement, Annex I, at I-29.


                                                         9

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III.       Operations of Emergent

           13.      Emergent, formerly known as Imperial Holdings, Inc., is a publicly-filed

corporation that formerly traded on the New York Stock Exchange and now trades on the over-

the-counter market under the ticker EMGC.20 Emergent was formed and structured to pursue a

variety of business opportunities, including investing in short and long-term life settlement

investments, providing premium financing for individual life insurance policies issued by

insurance companies,21 building specialty finance companies, and providing market leadership to

the life settlement industry.22 However, Emergent’s only apparent source of significant revenue

is currently from its indirect equity interests in White Eagle (which, itself, is largely in runoff).

Regardless of this limited scope, Emergent maintains essentially the same structure and

operations as it always has, employing thirteen employees at Emergent and Imperial Finance.23

Emergent has its own debt obligations consisting of over $115.8 million of secured notes.24

Further, Emergent has its own expenses, unique to Emergent, including (a) preparing its tax

returns, (b) maintaining its status as a public company,25 (c) preparing deliverables required

under its note indentures,26 and (d) negotiating with its noteholders.27


20
       See Emergent Capital, Inc., Annual Reports (Form 10-K) (Mar. 14, 2018), at 1, 13, and 15.
21
       See Emergent Capital, Inc., Annual Reports (Form 10-K) (Mar. 31, 2011).
22
       See About Us, EMERGENTCAPITAL.COM, http://emergentcapital.com/site/ (last visited Jan. 3, 2019).
23
       See Emergent Capital Inc., Annual Reports (Form 10-K) (Mar. 14, 2018), at 2.
24
       See Emergent Capital, Inc., Current Reports (Form 8-K) (Aug., 1, 2017).
25
    See Zatz Declaration, Exhibit 3 (White Eagle – Cash Variance Report, dated December 21, 2018 (reflecting
higher personnel expenses due to taxes on vested RSUs)).
26
    See Emergent Capital, Inc., Current Reports (Form 8-K) (Aug. 1, 2017), Exhibit 4.3 § 6.02-03 (Amended and
Restated Indenture, dated as of July 28, 2017, by and among Emergent Capital, Inc. and US Bank National
Association) (“The Company shall deliver to the Trustee copies of all annual reports, quarterly reports and other

                                                          10

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IV.        The Interim Cash Collateral Order

           14.      During the period between the filing of Lamington Road and White Eagle GP’s

Chapter 11 Cases and the filing of White Eagle’s Chapter 11 Case, White Eagle and the Lender

Parties entered into six standstill agreements in an attempt to resolve the issues among the

parties. Although, such attempts were unsuccessful, during the period between the two filings

dates the parties negotiated the terms of first day relief in the Chapter 11 Cases. Such relief

included the Interim Cash Collateral Order, which incorporated an agreed-upon 45-day budget

(the “Interim Budget”). The Lender Parties consented to the expenses in the Interim Budget on

an interim basis only and fully reserving rights to contest any use of Cash Collateral on a final

basis.28

V.         Proposed Payments to Imperial Finance and Ordinary Course Professionals

           15.      On January 8, 2019, the Debtors sent the Lender Parties a proposed budget (the

“Debtors’ Proposed Budget”), which includes a line item of approximately $560,000 per month

to be made for “Overhead/Operating Costs” to be transferred to Imperial Finance. A separate

documents . . . an Officer’s Certificate as to the signer’s knowledge of the Company’s compliance with all
conditions and covenants on its part contained in this Indenture”).
27
     See Emergent Capital, Inc., Current Reports (Form 8-K) (Dec. 10, 2018) (detailing Emergent’s entry into a
supplemental indenture for certain of its outstanding bonds that provides an election for the holders of such bonds to
receive interest in kind (i.e., applied to principal), likely to prevent a payment default under such notes); see also
Emergent Capital, Inc., General Statement of Acquisition of Beneficial Ownership (Schedule 13D/A) (Jan. 2, 2019)
(referencing a letter agreement between Ironsides Partners LLC and Emergent whereby Ironside Partners LLC
agreed to invest in Emergent’s notes for a substantial discount); Emergent Capital, Inc., Current Reports (Form 8-K)
(Jan. 3, 2019) (detailing Emergent’s entry into a subscription agreement for the sale of its senior secured notes).
28
     See Interim Cash Collateral Order ¶ 3(d) (“This Interim Order is without prejudice to, and nothing contained in
this Interim Order constitutes or shall be deemed a waiver (expressly or implicitly) by any Prepetition Secured Party
of, any rights, claims or defenses that it may have against the Debtors or any other party-in-interest in these chapter
11 cases or otherwise. The Prepetition Secured Parties reserve all such rights, claims and defenses in all respects,
including, without limitation, the right to contest or object on any basis to . . . (ii) any further request by the Debtors
for the use of Cash Collateral beyond the terms of this Interim Order (whether on a final or further interim basis),
including any proposed budget in connection therewith, on the terms set forth in the Motion or otherwise”); Interim
Budget at 1 (“All of the Debtors and CLMG and LNV’s rights with respect to any future budget are reserved in full,
and any agreement on amounts or types of expenses set forth in this interim budget are not, in any way, intended to
suggest approval of any similar amounts or types of expenses in any future budget.”).

                                                           11

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page in the Debtors’ Proposed Budget itemizes that line item and includes charges labeled “audit

and tax,” “office space” and “salaries and wages” (collectively, the “Disputed Expenses”).

          16.       As set forth above, the Lender Parties have conducted discovery to assess the

various expenses for which the Debtors have requested authorization to use Cash Collateral,

including whether, and to what extent, such expenses benefit White Eagle and whether such

expenses are commensurate with prevailing market rates.              Given the timeline and the

deficiencies in the Debtors’ production, the Lender Parties have not yet had a reasonable

opportunity to adequately review the Debtors’ production to fully assess whether amounts

proposed to be charged to White Eagle under the Debtors’ Proposed Budget are appropriate (and

reserve all rights with respect thereto). Nonetheless, and notwithstanding the glaring deficiencies

in the Debtors’ productions, the Lender Parties’ initial review suggests that many of the proposed

charges in the Debtors’ Proposed Budget, including the Disputed Expenses, are not properly

allocable to White Eagle.

          17.       In this regard, the Lender Parties believe there are numerous proposed payments

under the Debtors’ Proposed Budget that benefit, in whole or in part, non-Debtor affiliates of

White Eagle. First, the Debtors seek to pay $118,500 in January and $138,500 per month

thereafter for audit and tax services solely for Emergent, which – unlike the Debtors – is required

to pay taxes. Second, the Debtors seek to pay $244,281 in January and $172,914 per month

thereafter for the salaries, benefits and related expenses of each of Emergent and Imperial

Finance’s thirteen employees, who manage Emergent and Imperial Finance and do not work

directly for the Debtors. Based on the documents produced by the Debtors, these salaries include

the full salaries of the chief executive officer and the chief financial officer of Emergent and

other employees of Emergent and/or Imperial Finance. Third, there are various other expenses

                                                   12

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uncovered in discovery that appear to be exclusively the obligations of Emergent, as set forth in

detail below. The Debtors’ Proposed Budget – if approved – would require White Eagle to bear

100% of the foregoing expenses.

          18.       Further, the payments to Imperial Finance for services that may arguably benefit

the Debtors are substantially above-market compared to what the Debtors would pay for such

services from a third party. As set forth in detail in the Declaration of Mark Venn in Support of

Preliminary Objection of CLMG Corp. and LNV Corporation to Motion of Debtors for Entry of

Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate

Protection, (C) Modifying the Automatic Stay, and (D) Scheduling A Final Hearing filed

concurrently herewith (the “Venn Declaration”), the expert opinion of Mark Venn is that the

services currently provided by Imperial Finance could be outsourced to a corporate services

provider for an all-in cost of approximately $204,750 per month.29 Even taking into account a

potential $150,000 expense of transitioning to a new corporate services provider, such transition

would result in an at least 60% reduction in the amount of such expenses.30 This reduction in

cost is explained, in part, by the fact that the Debtors would not have to pay directly for the

overhead expenses of the new corporate services provider, such as office space and office

supplies. It also is partially explained because White Eagle could negotiate market terms with a

third party while, with Emergent (or an Emergent controlled entity such as Imperial Finance) as

its service provider, it suffers from inherent conflicts of interests and merely accepts whatever

terms Emergent demands.

29
    Mark Venn is the chief executive officer and managing director of ClearLife Limited with over 25 years of
experience in the life insurance industry.
30
     Venn Declaration, ¶¶ 14-15, 18.


                                                       13

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                                      PRELIMINARY OBJECTION

I.        The Lender Parties Have Valid Perfected Security Interests in the Cash Collateral

          19.       The Motion seeks authority to use the Debtors’ cash, which the Debtors concede

is subject to the Lender Parties’ security interests.31 The Lender Parties’ sole burden in this

proceeding is to demonstrate the “validity, priority, or extent of [its] interest” in the property that

is the subject of the Motion. 11 U.S.C. § 363(p)(2).

          20.       The Lender Parties have carried this burden by submitting to the Court the Loan

Agreement and Borrowing Request dated November 28, 2018 (the “Borrowing Request”)

attached as Exhibits 1 and 2 to the Declaration of Andrew Zatz in Support of the Preliminary

Response of CLMG Corp. and LNV Corporation to Debtors’ First Day Motions and to

Declaration of Miriam Martinez in Support of First Day Motions [Docket No. 24] and the

Account Control Agreement.

          21.       As stated above, pursuant to section 2.6(a) of the Loan Agreement and section 3.1

of the Account Control Agreement, White Eagle has pledged and granted to the Lender Parties a

first priority lien on and security interest in, among other things, all of White Eagle’s cash. The

Lender Parties’ security interests in the securities accounts are duly perfected and fully

enforceable pursuant to the Account Control Agreement. In addition, in paragraph 3(a)(v) of the

Interim Cash Collateral Order, the Debtors stipulate and agree that the liens, security interests

and pledges granted in favor of CLMG are legal, valid, binding, enforceable, non-avoidable and

properly perfected. As such, White Eagle’s cash constitutes “cash collateral” as defined in

section 363(a) of the Bankruptcy Code and the Lender Parties have a valid and fully perfected



31
     See Interim Cash Collateral Order ¶ 3(a)(v).

                                                       14

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interest in the Cash Collateral that is the subject to the Motion.32 As noted above, White Eagle

also conceded to this in the Borrowing Request on November 28, 2018.33

II.       The Disputed Expenses Are Not Ordinary Course

          22.       If a chapter 11 debtor seeks to use cash collateral, it must obtain court approval

after notice and a hearing regardless of whether such proposed use is in or outside the ordinary

course of business. See 11 U.S.C. § 363(b) (“The trustee, after notice and a hearing, may use,

sell, or lease, other than in the ordinary course of business, property of the estate”); § 363(c)(2)

(“The trustee may not use, sell, or lease cash collateral under paragraph (1) of this subsection

[which generally authorizes the use of collateral in the ordinary course of business absent notice

and a hearing] unless–(A) each entity that has an interest in such cash collateral consents; or (B)

the court, after notice and a hearing, authorizes such use, sale, or lease in accordance with the

provisions of this section.”).

          23.       While the Debtors suggest that their proposed use of Cash Collateral is in the

ordinary course of business,34 this characterization is false. In determining whether a transaction

is ordinary course, most courts, including in the Third Circuit, engage in a “two-step inquiry,”

32
      Section 363(a) of the Bankruptcy Code states:

      In this section, “cash collateral” means cash, negotiable instruments, documents of title, securities, deposit
      accounts, or other cash equivalents whenever acquired in which the estate and an entity other than the
      estate have an interest and includes the proceeds, products, offspring, rents or profits of property… subject
      to a security interest as provided in section 552(b) of this title, whether existing before or after
      commencement of a case under this title.
33
     See Borrowing Request at 1-2 (“The undersigned hereby certifies that as of the date hereof, and as of the date of
the requested Advance . . . all conditions precedent to the making of the Advance as set forth in Section 7.2 of the
Loan Agreement have been met.”); Loan Agreement §§ 7.2 (“On and as of the date of such Ongoing Maintenance
Advance: (i) the representations of . . . the Borrower . . . set forth in the Transaction Documents [including the Loan
Agreement] shall be true and correct in all material respects with the same effect as if made on such date, and (ii) . .
. the Borrower . . . shall be in compliance with the covenants set forth in the Transaction Documents to which it is a
party.”), 8.2 (containing White Eagle’s representation and warranty that, among other things, the liens, security
interests and pledges granted in favor of CLMG are legal, valid, binding, enforceable, non-avoidable and properly
perfected).
34
     See Motion ¶ 32 (citing section 363(c) of the Bankruptcy Code).

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which consists of analyzing (i) whether the use is of the sort commonly undertaken by

companies in the industry (i.e., the “horizontal” test) and (ii) whether the use subjects a creditor

to greater risk than it expected when it decided to extend credit (i.e., the “vertical” test). See In

re Roth Am., Inc., 975 F.2d 949, 952–53 (3d Cir. 1992); In re Nellson Nutraceutical, Inc., 369

B.R. 787, 797 (Bankr. D. Del. 2007). If either test is not satisfied, the disputed use is not in the

ordinary course of business. See In re Leslie Fay Cos., 168 B.R. 294, 303–05 (Bankr. S.D.N.Y.

1994).

          24.       Here, the Debtors fail on both accounts. First, neither the direct payment of

overhead expenses of a services provider unrelated to the services provided nor the substantial

overpayment (of over 60%) for such services is common in the industry or expected by creditors.

Second, as set forth above, the requested uses for Cash Collateral to which this Preliminary

Objection applies were not expenses White Eagle paid in the ordinary course of business

prepetition, and accordingly the Debtors’ requested use subjects the Debtors’ creditors to greater

risk than was expected at the time that credit was extended. Accordingly, the proposed use of

Cash Collateral to pay such expenses cannot now be deemed to be in the ordinary course of the

Debtors’ business, and such use is properly analyzed under section 363(b) of the Bankruptcy

Code.

III.      The Debtors Cannot Satisfy the Burden Required for the Use of Cash Collateral for
          the Disputed Expenses

          25.       The Debtors cannot carry their required burden for approval of the Disputed

Expenses. The Debtors may argue that the Lender Parties are adequately protected by certain

provisions of a final order authorizing the use of Cash Collateral or possibly by an equity

cushion. The Lender Parties reserve all rights with respect to whether they are adequately


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protected and any related valuation issues.35 Yet, this is not the end of the inquiry because

“[e]ven in situations where adequate protections are available cash collateral can not be used for

a nonbusiness purpose.” In re Plaza Family P’ship, 95 B.R. 166, 174 (E.D. Ca. 1989).

          26.        The Court should apply heightened scrutiny in the form of the entire fairness

standasrd in deciding whether to approve the Disputed Expenses. In determining whether to

authorize the use of cash collateral outside of the ordinary course of business, courts must, under

normal circumstances, find a “good business reason” to grant such application, such as “act[ing]

to further the diverse interests of the debtor, creditors and equity holders.” In re Enron Corp.,

335 B.R. 22, 28 (Bankr. S.D.N.Y. 2005) (citing In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir.

1983)); see also In re Express One Int’l, Inc., 2002 Bankr. LEXIS 1952, at *10-11 (Bankr. N.D.

Tex. April 16, 2002) (considering whether to authorize the debtor to use cash collateral “with

appropriate deference to Debtor’s business judgment, whether the proposed use of cash is

consistent with the interests of creditors and the estate.”); In re Podzemny, No. 09-14226 2011

Bankr. LEXIS 567, at *23 (Bankr. D.N.M. Feb. 8, 2011) (“In considering a debtor's request to

use estate property . . . the Court must determine whether the debtor has sufficiently justified the

proposed transaction[, which] requires a showing of an ‘articulated business justification’ for use

of the estate property.”).

          27.       However, where the proposed transfers involve a conflicted transaction,

heightened scrutiny in the form of the entire fairness standard should apply. See, e.g., In re

Zenith Elecs. Corp., 241 B.R. 92, 108 (Bankr. D. Del. 1999) (“In evaluating a transaction

between a controlling shareholder and its corporation, the Delaware courts require a showing that

35
    In October and November 2018, leading underwriters in the life settlements industry released announcements
regarding increases in projected life expectancies, which would have the effect of reducing the value of the Portfolio
and, therefore, the Lender Parties’ collateral. See First Day Declaration ¶ 17.

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the transaction is entirely fair.”); Kahn v. Lynch Commc’n Sys., 638 A.2d 1110, 1115 (Del. 1994)

(entire fairness applies when a controlling shareholder stands on both sides of a transaction); NL

Indus., Inc. v. Maxxam, Inc. (In re Maxxam, Inc.), 659 A.2d 760, 771 (Del. Ch. 1995) (holding

that a parent company standing “on both sides of a challenged transaction . . . will be required to

demonstrate that the transaction was entirely fair to the corporation”); In re Residential Capital,

LLC, Case No. 12-12020, 2013 Bankr. LEXIS 2601 at *64 (Bankr. S.D.N.Y. June 27, 2013) (“in

interested party transactions, an entire fairness/heightened scrutiny analysis applies”).

          28.       Here, the Court should apply heightened scrutiny and not give any deference to

the Debtors’ business judgment because the Debtors are conflicted and, thus, the entire fairness

standard should apply. Whoever is making decisions for the Debtors (and, at this point, we do

not know who that is) is also an employee or officer of Emergent, whose compensation is paid

from amounts paid by the Debtors to Emergent under the Debtors’ Proposed Budget. It is

difficult to imagine a more obvious or problematic conflict. As such, the Debtors’ determination

regarding expenditures, when it comes to payments to be made to Emergent and/or Imperial

Finance, do not enjoy the protection of the business judgment rule.

          29.       Under the entire fairness standard, the Debtors must demonstrate fair dealing and

fair price, a burden that they cannot satisfy. See Solomon v. Armstrong, 747 A.2d 1098, 1113

(Del. Ch. 1999), aff’d, 746 A.2d 277 (Del. 2000) (“[T]he burden of proving entire fairness is

often a daunting task”); Adelphia Commc’ns Corp. v. Rigas (In re Adelphia Commc’ns Corp.),

323 B.R. 345, 385 (Bankr. S.D.N.Y. 2005) (same); see also Official Unsecured Creditors’

Comm. of Broadstripe, LLC v. Highland Capital Mgmt., L.P. (In re Broadstripe, LLC), 444 B.R.

51, 106 (Bankr. D. Del. 2010) (“The requirement of fairness is unflinching in its demand that

where one stands on both sides of a transaction, he has the burden of establishing its entire

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fairness, sufficient to pass the test of careful scrutiny by the courts.”) (quoting Weinberger v.

UOP, 457 A.2d 701, 710 (Del. 1983)).

          30.       Indeed, courts have refused to authorize proposed payments of cash collateral that

would benefit non-debtor affiliates without any benefit provided to the debtor. For example, in

In re Plaza Family P’ship, the debtor moved for permission to use cash collateral to satisfy

federal tax liabilities of its non-debtor partners. 95 B.R. at 168. The bankruptcy court granted

the request, finding that the appellant’s interest was adequately protected and the proposed use of

cash was proper. Id. On appeal, the district court reversed, holding that, notwithstanding that

the secured creditor was adequately protected by an equity cushion, the debtor had the duty to

protect and conserve property in its possession for the benefit of its creditors, and could not

discharge this duty by using funds for “personal use,” such as paying the tax obligations of its

individual partners. Id. at 173. As the court stated:

          The individual partners of the debtor are not entitled to a distribution before
          …secured creditor[s]. The effect of such use would be to subordinate secured
          claims to the claims of the debtor and others. Such a result is inconsistent with
          the intent and purpose of the Bankruptcy Code.

Id. at 174. Similarly, in In re Universal Fin., Inc., the bankruptcy court denied a debtor’s motion

to use cash collateral to the extent it would authorize payments to creditors of the debtor’s

shareholders, stating that it was “not convinced that it would be a sound business judgment for

the Debtor to use its limited resources to make such payments.” 493 B.R. 735, 739 (Bankr.

M.D.N.C. 2013).

          A.        Expenses to be Borne Entirely by White Eagle that Benefit Non-Debtor
                    Affiliates Should Not Be Authorized

          31.       The Debtors cannot demonstrate entire fairness or even a sound business purpose

with respect to payments proposed to be made to Imperial Finance that benefit Emergent,

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Imperial Finance or any other non-Debtor affiliate. The Debtors’ Proposed Budget contemplates

$118,500 in January and $138,500 for each month thereafter for “Audit and Tax” services. It

provides for approximately $190,000 per month of other SG&A costs, including “Office Space,”

“Travel and Entertainment,” “Office Materials and Supplies,” and “Insurance”. The Debtors’

Proposed Budget also provides for approximately $240,000 per month of employee-related

expenses, including “Salaries and Wages,” “Health Insurance,” and “Payroll Taxes.” Moreover,

the Debtors’ document production seemingly reveals that the Debtors’ Proposed Budget would

apparently require White Eagle to pay for all of the salaries and compensation (excluding stock-

based compensation) of Emergent and Imperial Finance’s thirteen employees, including

Emergent’s chief executive officer and chief financial officer as well as other employees of

Emergent and Imperial Finance.

          32.       The foregoing expenses all provide a meaningful benefit to Emergent and

Imperial Finance – in some cases, exclusively to such entities. Yet, under the Debtors’ Proposed

Budget, White Eagle would be bearing 100% of such costs. Moreover, most (if not all) of these

expenses fall outside the scope of services to be provided under the Administrative Services

Agreement, which in any event has not been assumed by the Debtors. White Eagle, therefore,

has no legal obligation to make the payments on behalf of any other entity and, in any event,

should only be paying for services for which it receives a benefit.

          33.       First, the Debtors should not pay the tax-related expenses of Emergent because

such burdens are borne entirely by Emergent. As stated above, the Debtors have no tax liabilities

of their own and, yet, the Debtors’ Proposed Budget provides for meaningful “Audit and Tax”

services ($118,500 in January and $138,500 for each month thereafter). Therefore, just as was

the case in In re Plaza Family P’ship, the Debtors should not use Cash Collateral to pay for the

                                                   20

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tax-related expenses of its equity holders. 95 B.R. at 172 (holding that a partnership could not

use cash collateral to pay for the taxes of its partners when it had no tax obligations of its own).

Moreover, the tax and audit invoices produced thus far in discovery reveal that the Debtors’

proposed budget apparently includes expenses for services that have nothing to do with White

Eagle, including over $100,000 in expenses related to the 2018 audit of Emergent, services

related to the financial statements of Emergent, and analysis of the corporate level federal and

state income tax consequences of a potential transaction.

           34.      Second, the Debtors should not be paying for the salaries, benefits and related

expenses of each of Emergent and Imperial Finance’s thirteen employees. These are employees

of Emergent and Imperial Finance, not the Debtors and the Debtors have no legal obligations to

pay such salaries, benefits, or related obligations whether under the Administrative Services

Agreement or otherwise. As set forth in the Venn Declaration, the necessary services currently

provided to White Eagle by Imperial Finance can be accomplished by the equivalent of 35 hours

a week for two highly experienced (over 10 years) life settlements professionals.36 That work

can be provided through a third party servicer at an all-in cost of approximately $204,750 per

month (plus a one-time transition expense of $150,000).37 There is therefore no justification for

saddling White Eagle with the obligation to fund excessive employee costs that arise (i) as a

legacy from Emergent’s original hopes of expanding its business and (ii) to support Emergent’s

independent needs, including its public filing requirements and coordinating with Emergent’s

own noteholders. Moreover, even if it would somehow be argued that White Eagle is obligated

to, and derives some benefit from, paying such amounts, there is no justification for compelling

36
     Venn Declaration, ¶ 14.
37
     Id.

                                                   21

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White Eagle to pay 100% (or even a significant portion) of salaries with no allocation to the

actual entities who employ such persons and require their services (i.e., Emergent and Imperial

Finance).

          35.       Third, the Debtors’ initial document production reveals several additional

expenses that benefit the non-Debtor affiliates and Emergent, rather than White Eagle:

                    • The Debtors’ Proposed Budget would require White Eagle to pay data
                      processing expenses of Emergent and the non-Debtor affiliates; indeed,
                      several of the invoices produced by Debtors are addressed directly to
                      Emergent.

                    • Based on documents produced by the Debtors, it appears that their proposed
                      budget would require White Eagle to pay for director and officer insurance for
                      Emergent, even though there is no conceivable benefit to White Eagle from
                      the purchase of such insurance.

                    • The Debtors’ Proposed Budget would also require White Eagle to pay for rent
                      and operating expenses for Emergent’s corporate headquarters in Boca Raton,
                      FL.

                    • The Debtors’ Proposed Budget also includes professional fees and contractor
                      services, but Debtors’ production includes invoices for consulting services for
                      Emergent, bills for legal services for “general corporate matters,” and invoices
                      for accounting services for Emergent.

                    • The Debtors’ Proposed Budget would also require White Eagle to pay a
                      variety of other expenses billed to Emergent that have no benefit to White
                      Eagle, including communications expenses, travel and entertainment
                      expenses, and membership dues and subscriptions.

          36.       With respect to each of the foregoing expenses, just as in In re Plaza Family

Partnership and In re Universal Finance, Inc., the proposed use of Cash Collateral for such

purposes is unnecessary under the Administrative Services Agreement, unrelated to the Debtors’

business and for the benefit only of non-Debtor affiliates and Emergent, as the ultimate equity

owner of the Debtors. To prioritize such payments at the expense of the Debtors and their




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secured creditors is unacceptable, as there can be no business justification for them and therefore,

they do not satisfy either the business judgment or entire fairness standard.38

          B.        Above-Market Payments to Imperial Finance for Necessary Services Should
                    Not Be Approved

          37.       Further, under the Debtors’ Proposed Budget, White Eagle is inappropriately

overpaying for the services it does need. With respect to services provided by Imperial Finance,

which cover all of the Disputed Expenses, White Eagle could procure the services it requires

from a third party corporate services provider at a fraction (at most 40%) of the cost it seeks to

pay Imperial Finance, as set forth in greater detail in the Venn Declaration.39 Applying the

heightened scrutiny standard for the conflicted transactions that the Debtors seek court approval

of, the Debtors cannot justify paying expenses that are extravagant compared to what they could

procure in the market. The only purported justification the Debtors could articulate for relying

on Imperial Finance for such services at such prices is that such amounts are necessary to pay for

Emergent and Imperial Finance’s overhead and to ensure that such entities continue to survive.

But shouldering the burdens of such costs is inconsistent with market practice and contrary to the

Administrative Services Agreement and the Loan Agreement. Therefore, these costs should not

be authorized here. Moreover, White Eagle’s complete lack of negotiating capacity vis-à-vis

Emergent and Imperial Finance further demonstrates that its payment for such amounts to


38
     Certain payments to law firms that the Debtors seek to pay as ordinary course professionals under the Debtors’
Proposed Budget may be improper for similar reasons. Each such professional may provide some benefit to White
Eagle, as they have all been retained to defend lawsuits that, if successful, would negatively impact the overall value
of White Eagle’s insurance policies. However, certain of such law firms are also prosecuting and defending claims
that exclusively or partially impact Emergent. Emergent should pay the costs of such services (and should pay its
proportional share with respect to lawsuits on which it derives a shared benefit with Emergent). Notably, prior to
the Petition Date, it was Emergent’s responsibility to pay all law firms. The Lender Parties reserve all rights with
respect to any fee or retention application filed by any of the Debtors’ professionals on that, or any other, basis.

39
     Venn Declaration, ¶18.

                                                         23

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Imperial Finance cannot pass scrutiny and should not be approved.

                                    RESERVATION OF RIGHTS

          38.       This Preliminary Objection is submitted without prejudice to, and with a full

express reservation of, the Lender Parties’ rights to supplement and amend this Preliminary

Objection and to introduce evidence at any hearing relating to this Preliminary Objection, and

further object to the Motion on any and all grounds, including in light of the deficiencies in the

Debtors’ discovery production and responses. Moreover, the Lender Parties expressly reserve all

of their rights with respect to the relief granted in the Motion and to request adequate protection

pursuant to section 363(e) of the Bankruptcy Code.

                                           CONCLUSION

          WHEREFORE, the Lender Parties respectfully request that the Court (a) deny the Motion

or condition approval of the Motion on submission by the Debtors’ of a revised Cash Collateral

budget that address the issues raised in this Preliminary Objection, and (b) grant such other and

further relief as the Court deems just and proper.




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Dated: January 11, 2018                    Respectfully submitted,
       Wilmington, Delaware
/s/ Carl D. Neff
Jeffrey M. Schlerf (No. 3047)              Thomas E Lauria (admitted pro hac vice)
Carl D. Neff (No. 4895)                    Jesse L. Green (admitted pro hac vice)
FOX ROTHSCHILD LLP                         WHITE & CASE LLP
919 North Market St., Suite 300            Southeast Financial Center
Wilmington, DE 19801                       200 S. Biscayne Boulevard, Suite 4900
Telephone: (302) 654-7444                  Miami, FL 33131
Facsimile: (302) 463-4971                  Telephone: (305) 371-2700
jschlerf@foxrothschild.com                 Facsimile: (305) 358-5744
cneff@foxrothschild.com                    tlauria@whitecase.com
                                           jgreen@whitecase.com

                                            –and–

                                           David M. Turetsky (admitted pro hac vice)
                                           Andrew T. Zatz (admitted pro hac vice)
                                           WHITE & CASE LLP
                                           1221 Avenue of the Americas
                                           New York, NY 10020-1095
                                           Telephone: (212) 819-8200
                                           Facsimile: (212) 354-8113
                                           dturetsky@whitecase.com
                                           azatz@whitecase.com

                                            –and–

                                           Jason N. Zakia (admitted pro hac vice)
                                           WHITE & CASE LLP
                                           227 West Monroe Street, Suite 3900
                                           Chicago, IL 60606-5055
                                           Telephone: (312) 881-5400
                                           Facsimile: (312) 881-5450
                                           jzakia@whitecase.com

                                           Attorneys for CLMG Corp.
                                           and LNV Corporation




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